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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                 Case No. 19-cr-20450-RNS


   UNITED STATES,

          Plaintiff,

   v.

   ALEX NAIN SAAB MORAN,

        Defendant.
   __________________________________/

           ORDER GRANTING DEFENDANT’S SEALED UNOPPOSED MOTION
                  TO AMEND THE PROTECTIVE ORDER (D.E. 76)

          THIS MATTER came before the Court upon the Defendant’s Sealed Unopposed

   Motion to Amend the Protective Order (D.E. 76). Having considered the Defendant’s

   Motion, and being otherwise fully advised in its premises, it is hereby ORDERED and

   ADJUDGED that the Defendant’s Motion is GRANTED:

          Defense counsel may transmit outside of the United States to a member of the

   defense team, described as PD in the Protective Order, a limited subset of discovery

   material related to transactions between Ecuadorian and Venezuelan companies

   allegedly involving Mr. Saab. No copies of the discovery materials will be made outside

   the United States and all discovery materials will be returned to the United States no later

   than January 7, 2022.

          DONE and ORDERED in Miami, Florida, on _____________________________.


                                             _____________________________________
                                             HONORABLE ROBERT N. SCOLA, JR.
                                             UNITED STATES DISTRICT JUDGE
                                             SOUTHERN DISTRICT OF FLORIDA


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